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  1   Kenneth M. Sigelman, Esq. (SBN: 100238)
  2   E-Mail: ken@sigelmanassociates.com
      Mark A. Birmingham, Esq. (SBN: 132008)
  3   E-Mail: mark@sigelmanassociates.com
  4   KENNETH M. SIGELMAN &
      ASSOCIATES
  5   1901 1st Ave., 2nd floor
  6   San Diego, California 92101
      Telephone: (619) 238-3813
  7   Facsimile: (619) 238-1866
  8
      Hamilton Arendsen, Esq. (SBN: 212844)
  9   E-Mail: harendsen@abtrialattorneys.com
 10   ARENDSEN BRADDOCK LLP
      1245 Island Avenue
 11   San Diego, CA 92101
 12   Telephone: (619) 501-3619
      Facsimile: (619) 923-3727
 13

 14   Attorneys for Plaintiffs
 15
                                 UNITED STATES DISTRICT COURT
 16
                           SOUTHERN DISTRICT OF CALIFORNIA
 17

 18
      FRV, a Minor, By and Through His      )             Case No.: 21-CV-00165-DMS-BLM
 19   Guardian ad litem, CRISTAL            )             Consolidated Case: 21-cv-00329
      CAZARES VALENZUELA; and               )
 20   SONIA VALENZUELA PEREZ,                              MOTION FOR DISMISSAL [FRCP
                                            )
      Individually,                         )
                                                           41(a)] AND ORDER OF
 21                                                        DISMISSAL
                              Plaintiffs,   )
 22                                         )              JUDGE: Hon. Dana M. Sawbraw
      v.                                    )              MAGISTRATE: Hon. Barbara L.
 23                                         )              Major
      UNITED STATES OF AMERICA;             )
 24   and DOES 1 through 20, Inclusive,                   (Removed from Superior Court of California,
                                            )
                                            )
                                                          County of San Diego, Case No. 37-2020
 25                           Defendant.                  00002536-
      _____________________________________ )             CU-MM-NC)
 26                                         )
                                            )
 27                                         )
 28                                         )

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                          MOTION FOR DISMISSAL [FRCP 41(a)] AND ORDER OF DISMISSAL
Case 3:21-cv-00165-DMS-BLM Document 25 Filed 07/21/22 PageID.590 Page 2 of 3



  1   FRV, a Minor, By and Through His                   Case No. 21-CV-00329-DMS-BLM
      Guardian ad litem, CRISTAL
  2   CAZARES VALENZUELA; and
      SONIA VALENZUELA PEREZ,
  3   Individually,
  4                                Plaintiffs,
      v.
  5
      TRI-CITY HEALTHCARE
  6   DISTRICT; TRI-CITY MEDICAL
      CENTER; VISTA COMMUNITY
  7   CLINIC, MELISSA HAWKINS,
      M.D.; ROMANA BAILEY, M.D.;
  8   and
      DOES 1 through 100,
  9   Inclusive,
 10
                                  Defendants.
 11

 12        Plaintiffs FRV, a Minor, By and Through His Guardian ad litem, CRISTAL
 13 CAZARES VALENZUELA; and SONIA VALENZUELA PEREZ hereby move

 14 under Federal Rule of Civil Procedure 41(a)(2) that this action be dismissed with

 15 prejudice as to all claims, causes of action, with respect to Defendant Tri-City

 16 Healthcare District dba Tri-City Medical Center only, with each party bearing that

 17 party’s own attorney’s fees and costs.

 18

 19
      DATED: July 18, 2022                       /s/   Moira S. Brennan
                                                 SCOTT D. BUCHHOLZ, ESQ.
 20                                              MOIRA S. BRENNAN, ESQ.
                                                 NICOLE G. WELLS, ESQ.
 21                                              Dummit Buchholz and Trapp
                                                 Attorneys for Tri-City Healthcare District
 22                                              dba Tri-City Medical Center
 23 DATED: July 12, 2022                         /s/ Kenneth M. Sigelman
                                                 Kenneth M. Sigelman, Esq.
 24                                              KENNETH M. SIGELMAN & ASSOCIATES
                                                 Attorneys for Plaintiffs F.R.V., a Minor, By
 25                                              and Through His Guardian Ad Litem,
                                                 Cristal Cazares Valenzuela and
 26                                              Sonia Valenzuela Perez
 27

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                         MOTION FOR DISMISSAL [FRCP 41(a)] AND ORDER OF DISMISSAL
Case 3:21-cv-00165-DMS-BLM Document 25 Filed 07/21/22 PageID.591 Page 3 of 3



  1                                  ORDER OF DISMISSAL
  2
            Pursuant to the stipulation of the parties under Federal Rule of Civil
  3
      Procedure 41(a)(2), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY
  4
      IS, DISMISSED WITH PREJUDICE as to all claims, causes of action, to Defendant
  5
      Tri-City Healthcare District dba Tri-City Medical Center only, with each party
  6
      bearing that party’s own attorney’s fees and costs.
  7
      Dated: July _______, 2022
  8
                                                 ________________________________
  9                                              Dana M. Sawbraw
 10                                              UNITED STATES DSITRICT JUDGE
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                          MOTION FOR DISMISSAL [FRCP 41(a)] AND ORDER OF DISMISSAL
